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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                                                  CASE NUMBER:


 JAMES RUTHERFORD                                                   5:20−cv−01746−JGB−SP
                                                  Plaintiff(s),

          v.
 DOOTSON PROPERTY MANAGEMENT, L.P. , et
 al.                                                                NOTICE TO FILER OF DEFICIENCIES IN
                                                Defendant(s).
                                                                    ELECTRONICALLY FILED DOCUMENTS




 PLEASE TAKE NOTICE:

 The following problem(s) have been found with your electronically filed document:

 Date Filed:         10/22/2021
 Document Number(s):                 33,34
 Title of Document(s):              Supplemental Declaration(s)
 ERROR(S) WITH DOCUMENT:

 Incorrect event selected. Correct event to be used is: Declaration




 Other:

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 document stricken; or 3) take other action as the Court deems appropriate. You need not take any action in response to this
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                                                   Clerk, U.S. District Court

 Dated: October 25, 2021                           By: /s/ Trina Debose trina_debose@cacd.uscourts.gov
                                                      Deputy Clerk

 cc: Assigned District Judge and/or Magistrate Judge

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